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                                   UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12                                                                        *E-FILED - 4/13/06*

13   UNITED STATES OF AMERICA,                    )       No. CR 06-00074 RMW
                                                  )
14          Plaintiff,                            )
                                                  )       STIPULATION AND
15              v.                                )       ORDER EXCLUDING TIME
                                                  )
16   JAMES RUSSELL FITZGERALD, JR,                )
                                                  )
17          Defendant.                            )       SAN JOSE VENUE
                                                  )
18                                                )
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20      On April 3, 2006, the parties in this case appeared before the Court for a status appearance.

21   Assistant Federal Public Defender Lara Vinnard informed the Court that the defendant was

22   recently released from Monterey County and she needed time to review the discovery in the case

23   with him. Therefore, the parties requested that the case be continued to May 15, 2006 at 9:00

24   a.m. In addition, the parties requested an exclusion of time under the Speedy Trial Act from

25   April 3, 2006 until May 15, 2006 in order for AFPD Vinnard to review discovery. The

26   defendant, through AFPD Vinnard, agreed to the exclusion. The parties agree and stipulate that

27   an exclusion of time is appropriate based on the defendant’s need for effective preparation of

28   counsel.


     STIPULATION AND ORDER
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1    SO STIPULATED:                                KEVIN V. RYAN
                                                   United States Attorney
2
3    DATED:                                        _______/s/__________________________
                                                   SUSAN KNIGHT
4                                                  Assistant United States Attorney
5    DATED:                                        _______/s/__________________________
                                                   LARA S. VINNARD
6                                                  Assistant Federal Public Defender
7
8       Accordingly, for good cause shown, the Court HEREBY ORDERS that time be excluded
9    under the Speedy Trial Act from April 4, 2006 until May 15, 2006. The Court finds, based on
10   the aforementioned reasons, that the ends of justice served by granting the requested continuance
11   outweigh the best interest of the public and the defendant in a speedy trial. The failure to grant
12   the requested continuance would deny defense counsel reasonable time necessary for effective
13   preparation, taking into account the exercise of due diligence, and would result in a miscarriage
14   of justice. The Court therefore concludes that this exclusion of time should be made under 18
15   U.S.C. §§ 3161(h)(8)(A) and (B)(iv).
16   SO ORDERED.
17
18          4/13/06
     DATED:______________                           /s/ Ronald M. Whyte
                                                   ________________________________________
                                                   RONALD M. WHYTE
19                                                 United States District Judge
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     STIPULATION AND ORDER
     NO . 06-00074 RMW                                2
